(sashes Sg Customer Sales Receipt
__ Tefre Haute, IN478020
Sold GABRIELLA LAKIN Date: 11/7/2020
To” 638 N 9TH ST 4473; 8242

CLINTON, IN 478420000

‘Sale Reference : LAKIN, GABRIELLA 1 4/07/2020 18:10:50.836

TrxType [Quantity| Price | Taxable Extended Price
Firearm 1 $1,800.00 Yes $0.00 $1,800.00
IWI US 5.56
[Approval:|101P5N9CC
Inventory 2 $35.99 Yes $0.00 $71.98

MAGTECH 556A

~ PrevPmts:| $2,003.02
~~ Payment: | $0.00,

Ene | |
| Balance: $0.00 |

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BO ee Have a nice day! ******eee |
Call us anytime at 81 2-917-4364 for the best deals in town. Quality & Service above all else!. |

All Lay-a-Ways, Must be picked up in 90 Days !If Lay-A way is cancelled at any time the 20% is
not refundable . All sales are final

- Page 1/1 -
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MACK ADAMS CZ-USA

812-239-7583 paetter Likdnr’s courezs
552 E Springhill Dr

Terre Haute, IN 47802
CARSONGUNS@YAHOO.COM

G-OL 3€S Z-Ob H4-UOW
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OMB No. 1140-0020

U.S. Department of Justice

Bureau of Alcohol, Tobacco, Firearms and Explosives Firearms Transacti on Record

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WARNING: The information you provide will be used to determine whether you are prohibited by Federal or State law from receiving Transferor’s/Seller’s
afirearm. Certain violations of the Gun Control Act, 18 U.S.C. 921 et. seq., are punishable by up to 10 years imprisonment and/or up to a Transaction Serial
$250,000 fine. Any person who exports a firearm without a proper authorization from either the Department of Commerce or the Number (if any)

Department of State, as applicable, is subject to a fine of not more than $1,000,000 and up to 20 years imprisonment.

Read the Notices, Instructions, and Definitions on this form. Prepare in original only at the licensed premises (including business | [ | ¢ |

temporarily conducted from a qualifying gun show or event in the same State in which the premises is located) unless the transaction
qualifies under 18 U.S.C. 922(c). All entries must be handwritten in ink unless completed under ATF Rul. 2016-2. PLEASE PRINT.

Section A - Must Be Completed By Transferor/Selier Before Transferee/Buyer Completes Section B

1, 2, 3. 4, 5.
Manufacturer and Importer (if any) Model Serial Number Type Caliber or
(if the manufacturer and importer are (if designated) Gauge
different, include both.)

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3,

6. Total Number of Firearms to be Transferred (Please spell total number e.g., 7. Check if any part of this transaction is a pawn redemption.

one, two, etc. Do net use numerals.) Record Line Number(s) From Question 1:

ONE

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8. Check if this transaction is to facilitate a private party transfer. [|

Section B - Must Be Completed Personally By Transferee/Buyer

9. Transferee’s/Buyer’s Full Name (If legal name contains an initial only, record the initial followed by “IO” in quotes. Ifno middle initial or name, record “NMN”,)

Last Name (including suffix, e.g., Jr, Sr, 0, 0D) First Name addie Name

Lokin Cr Woriedle QGP

10. ~Current State of Residence and Address (U.S. postal abbreviations are acceptable. Cannot be a post office box.) J
Number and Street Addr

County/Parish/Borough

58_US fly Y,; / Res dhe Ftp ea Yates

1]. Place of Birt” 12. Height |13. Weight |14. Sex 15. Birth Date
U.S. City and State R- | Foreign Country Ft. (lbs.) | (_] Male Month

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9G

16. Social Security Number (optional, but will help prevent misidentification) | 17. Unique Personal Identification Number 3Ou or Appeals Management

Database Identification (AMD ID) (if applicable}

18.a. Ethnicity 18b. Race (Select one or more race in 18.b. Both 18.a. and 18.b. must be answered.)
[| Hispanic or Latino [| American Indian or Alaska Native [| Black or African American (OWiite

[Not Hispanic or Latino [J Asian [| Native Hawaiian or Other Pacific Islander

19. Coun Citizenship: (Check/List more than one, if applicable. Nationals of the United States may check U.S.A.)
nited States of America (U.S.A) [| Other Country/Countries (Specify):

20. Ifyou are an alien, record your U.S.-issued alien or admission number (AR#, USCIS#, or 194#):

(Dep

21. Answer the following questions by checking or marking either the “yes” or “no” box to the right of the questions: Yes | No
a. Are you the actual transferee/buyer of the firearm(s) listed on this form and any continuation sheet(s) (ATF Form 5300.9A)? LY
Warning: You are not the actual transferee/buyer if you are acquiring the firearm(s) on behalf of another person. If you are ow 0

not the actual transferee/buyer, the licensee cannot transfer the firearm(s) to you. Exception: If you are only picking up a repaired
firearm(s) for another person, you are not required to answer 21.a. and may proceed to question 21.b.

b. Are you under indictment or information in any court for a felony, or any other crime for which the judge could imprison you for more
than one year, or are you a current member of the military who has been charged with violation(s) of the Uniform Code of Military
Justice and whose charge(s) have been referred to a general court-martial?

c. Have you ever been convicted in any court, including a military court, of a felony, or any other crime for which the judge could have
imprisoned you for more than one year, even if you received a shorter sentence including probation?

‘

d. Are you a fugitive from justice?

Are you an unlawful user of, or addicted to, marijuana or any depressant, stimulant, narcotic drug, or any other controlled substance?
Warning: The use or possession of marijuana remains unlawful under Federal law regardless of whether it has been legalized or decriminalized

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f Have you ever been adjudicated as a mental defective OR have you ever been committed to a mental institution?

Have you ever been discharged from the Armed Forces under dishonorable conditions?

h. Are you subject to a court order, including a Military Protection Order issued by a military judge or magistrate, restraining you from
harassing, stalking, or threatening your child or an intimate partner or child of such partner?

a

i. Have you ever been convicted in any court of a misdemeanor crime of domestic violence, or are you or have you ever been a member of
the military and been convicted of a crime that included, as an element, the use of force against a person as identified in the instructions?

j. Have you ever renounced your United States citizenship?

k. Are you an alien illegally or unlawfully in the United States?

21.1.1, Are you an alien who has been admitted to the United States under a nonimmigrant visa?
21.1.2. Ifyou are such an alien do you fall within any of the exceptions stated in the instructions? (U.S. citizens/nationals leave 21.1.2. blank}

I certify that my answers in Section B are true, correct, and complete. I have read and understand the Notices, Instructions, and Definitions on ATF Form
4473. T understand that answering “yes” to question 21.a. if I am not the actual transferee/buyer is a crime punishable as a felony under Federal law,

and may also violate State and/or local law. | understand that a person who answers “yes” to any of the questions 21.b. through 21.k. is prohibited from
receiving or possessing a firearm. I understand that a person who answers “yes” to question 21.1.1. is prohibited from receiving or possessing a firearm,
uniess the person answers “yes” to question 21.1.2. and provides the documentation required in 26.d. | also understand that making any false oral or
written statement, or exhibiting any false or misrepresented identification with respect to this transaction, is a crime punishable as a felony under Federal
law, and may also violate State and/or local law. I further understand that the repetitive purchase of firearms for the purpose of resale for livelihood and
profit withoyt a Federal firgarmns license is a vighation of Federal law.

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Section C - Must Be Completed By Transferor/Seller Prior To The Transfer Of The Firearm(s)

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24. Category of firearm(s) to be transferred (check or mark all that apply): 25. If sale or transfer is at a qualifying gun show or event:
[ ] Handgun [x] Long Gun [ ] Other Firearm (frame, receiver, etc.) | Name of Function: e

(rifle or
shotgun) City, State:

26.a. Identification (e.g., Virginia driver’s license (VA DL) or other valid government-issued photo identification including military ID.)

Issuing Authority and Type of Identification | Number on Identification {Expiration Date of Identification (if any)

__ e sae Month i Day Year
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IN DL. | GATS S4-0103 | OF | OG | KOX,

26.b. Supplemental Government Issued Documentation (if identification document does not show current residence address or full legal name)

26.c. Official Military Orders Establishing Permanent Change of Station (PCS):
PCS Base/City and State: PCS Effective Date: PCS Order Number (if any):

26.d. Exception to the Nonimmigrant Alien Prohibition: If the transferee/buyer answered “yes” to 21.1.2. record the type of documentation showing the
exception to the prohibition and attach a copy to this ATF Form 4473:

27.a, Date the transferee’s/buyer’s identifying information in Section B was _| 27.b. The NICS or State transaction number (if provided) was:
transmitted to NICS or the appropriate State agency:
iw te ?
Month | Pay Year i. lO | P| P3 LS
ji | CS | 2OIO i
if | "| « ol C /
27.c. The response initially provided by NICS or the appropriate State 27.d. Prior to transfer the following response(s) was/were later provided
agency was: by NICS or the appropriate State agency:
A) Proceed [| Delayed [_ Proceed (date) [| Overturned
. [The firearm(s) may be transferred on .
(| Denied a 5 3 [| Denied (date)
if State law permits (optional)]
[| Cancelled [ ] Cancelled (date)
[ ] No response was provided within 3 business days.

27.e. After the firearm was transferred, the following response was provided by NICS or the appropriate State agency (if applicable) on:

(date). [| Proceed [| Denied [| Cancelled
27.f. Name and Brady identification number of the NICS examiner. (optional) |27.g. Name of FFL Employee Completing NICS check. (optional)

(name) (number)

28. [— No NICS check is required because a background check was completed during the NFA approval process on the individual who will receive
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STATEMENT OF GABRIELLA (KNOWN AS GABBY) LAKIN
7658 U.S. Hwy 41, Rosedale, Indiana 47814

Gabby would you state your full name please.

Gabriella Lakin

And you are in the law office of Smock & Etling today to give me a statement?
Yes, sir.

And you are doing that voluntarily?

Yes, sir.

And you called me indicating that you had some information that might be pertinent to
this case, is that correct?

Yes, sir.

Okay. Now you were at a house on Schaal Avenue on or about November 8 of 2020, is
that correct?

Yes, sir.

Do you know who lived in that house?

Yes, sir.

And who was that?

Matt

Matthew Beeler?

Yes

Okay. Now what had you been doing that day earlier before you went to that house?
Christmas shopping. 4

And were you with anybody when you were Christmas shopping or by yourself?
I was by myself.

Did you while you were Christmas shopping purchase any firearms.
P Oo F DOD F&F DO >

PO FP OO FP DB F HD F&F BF DH &F LH PP #L

Yes, sir.

What type of firearms did you purchase?

A Mossberg and...

Various long guns and...

Yes, and different types of guns.

And do you remember where you purchased them?

Yes, Wabash Armory and Carson’s.

Okay. And did you pay for them?

Yes, I paid for them.

And did you get receipts for those guns?

The police have the receipts but I will be going to the gun store to get another receipt.
And you purchased them and the guns are in your name?
Yes.

Okay. Who were you going to give the guns to?

I was buying them for my step-dad for Christmas.

Does he like guns?

Yes. He was in the military for nine (9) years and likes guns.
Okay. Now you had them in your vehicle, is that correct?
Yes, sir.

How did they get from your vehicle into the house on Schaal Avenue?
I took them in because I did not want them to get stolen.

You did not think it was safe to leave them outside?

In the backseat, yes.
GC PF DP F&F DB Fe

GO PF f >

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Now when you were in the house on Schaal Avenue did you have a medical emergency?
Yes, I did.

And what was that?

I overdosed.

You overdosed?

Yes.

Okay. What is the next thing that you remember from your overdose? How did you get
back from the overdose?

I got-Narcan and then everybody was split up.
Now you got the drug Narcan and that brought you back from the overdose, correct?
Yes, sir.

And the police were at the house but you do not remember too much about it because you
had overdose?

Yes, sir.

What did the police do with you?

They placed me in the back of a cop car.

Okay. About how long do you think you were in that cop car?
An hour, an hour and a half?

Okay. Did they take any statements from you?

No.

Did they arrest you?

No.

Did they say you may or may not be arrested?

They said that I could be arrested at the Court date for being a common nuisance.
>

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Okay. But you have not been arrested correct?
No, sir.

Do you have any criminal record?

No, sir.

Where did you go to school?

Riverton Park.

Do you have children?

Yes, I have two, twins.

Two, twins. Sow old are your twins?

One.

Do you have hopes of getting these guns back?
Yes, sir.

And you will try to get those receipts and any documentation that you have that might
show that you had purchased these weapons, is that correct?

Yes, sir.
Okay. Do you know where you got the money to purchase these weapons?

Uhm, yes. My ex sold his motorcycle and he gave me half of the money from selling his
motorcycle and I do odd jobs for people.

So, your ex-boyfriend gave you...

Half of the money that he sold his motorcycle for and I mow grass and rake leaves for
people.

How did you happen to be over at the house? Was there a reason you stopped in? To see
your boyfriend or...? Or you knew he was there is that correct?

Yeah, I knew he was there and I had not seen Matt in a long time so I just wanted to
check in on him.
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Q. Okay. Is there anything that I have not asked you that you think is relevant?

A. No, sir.

Q. It is hard to pick up with masks on because we have to socially distance...did you say
no?

A. Yes, I said no sir.

Q. Okay. And are you giving this statement voluntarily and nobody had coerced you into

giving this statement?

A. Yes, sir.

Q. Yes, nobody is?

A. Yes, sir ] am giving it voluntarily.

Q. Okay. And is everything you told me the truth to the best of your knowledge.

A. Yes it is.

Q. And you would be willing, once this is typed up, to review it if necessary and sign it?

A. Yes.

Q. And you also will see if you can get to me that documentation showing that you
purchased the guns and that you own the guns?

A. Yes.

Q. Thank you very much.

A. Your welcome.

I have read the above statement and it is correct other than one gun that I did not purchase
was a Sears and Roebuck gun which was offered to me, but I did not buy it. The person had
brought it by the house, and I decided I did not want this particular gun. Apparently, the person
may have left it at the house I am really not certain, but they brought it by for me to look at.

abriella Lakin
SUBSCRIBED AND SWORN TO BEFORE ME, the undersigned, a Notary Public, in and
for said County and State, this 1*' day of December, 2020, personally appeared Gabriella Lakin,
said person being over the age of 18 years, and acknowledged the execution of the foregoing

instrument.
My Commission Expires: May nds 20A/ — Ji. SLA

Commission Number: LOV7¢ Fell Erin WM. Lahr __.Notary

Vigo County, Indiana

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